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                                   STATEMENT OF FACTS
        On Saturday, November 26, 2022, at approximately 1430 hours in the 4400 block of F
Street SE Washington, D.C. 20019 (PSA 604), investigators from the Metropolitan Police
Department (“MPD”) Violent Crime Impact Team (“VCIT”) were working in the Sixth District.
The 4400 block of F Street SE, Washington, D.C. is a part of the Homicide Reduction Partnership,
which includes the entirety of PSA 604 in the Sixth District. Additionally, on November 25, 2022,
at approximately 2006 hours, CIC ShotSpotter came out for 2 indications of sounds of gunshots—
one at 4810 Alabama Avenue SE for 4 sounds of gunshots and one at 4808 Alabama Avenue
Southeast for 19 sounds of gunshots. There were shell casings recovered from the area with report
number 22-171-887.
        VCIT investigators utilized unmarked vehicles equipped with emergency lights and sirens.
Members were dressed in casual attire with outer vest carriers, with “Police” identifiers clearly
labeled front and back. Officer Schemmel (driver), Investigator Madera (front passenger), and
Investigator Guzman (rear right passenger) were assigned as Impact 47, and other VCIT
investigators were in other vehicles.
        Investigators were driving in the 4400 block of F Street SE, Washington, D.C. when they
observed two individuals walking on the sidewalk toward Alabama Avenue SE. Simultaneously,
two separate unmarked police cars approached these subjects from separate angles so as to observe
their actions as they were walking. As the officers exited their vehicles, they continued to observe
one of the individuals, Jean Baptiste, walk toward a black SUV that was parked on the street. As
Baptiste walked toward the black SUV, Investigator Madera observed Baptiste take a tan handgun
out of his waistband and toss it to the ground. Multiple officers/investigators heard a loud clanking
noise consistent with a metallic object hitting the concrete when Baptiste was seen tossing the
handgun.
       Law enforcement learned that Baptiste’s firearm was a:
       Make: Glock
       Model: 19X
       Cal: 9mm
       Serial: BVHW427
       Ammo: 1 in chamber, 30 rounds of ammunition, 31 capacity magazine.
        The firearm recovered from Baptiste was equipped with a machinegun conversion device,
also known as a “giggle switch” or a “Glock switch,” designed and intended to convert the pistol
into a weapon which shot, and was designed to shoot, automatically more than one shot, without
manual reloading, by a single function of the trigger.
       A Wales query was conducted on Baptiste, which revealed that he had an active warrant
for Armed Carjacking—Warrant Number: 2022CRW003737. There was also a BOLO given out
to MPD in reference to Baptiste, which stated he should be considered Armed and Dangerous.



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        On November 28, 2022, law enforcement officers reviewed aerial CCTV footage from
November 26, 2022, of the 4400 block of F St. SE, Washington, D.C. around the time that MPD
officers arrived on scene and engaged with Baptiste. In the CCTV footage, Baptiste is visible
dropping a tan firearm on the ground in front of a black vehicle moments before MPD officers
detain him and recover the Glock 19X firearm.
        Baptiste was previously convicted of Conspiracy and Assault with a Dangerous Weapon
in D.C. Superior Court case number 2011 CF1 004786, and, in May 2013, was sentenced to 120
months of incarceration. Therefore, Baptiste would have been aware at the time of his arrest in
this case that he had a prior conviction for a crime punishable by more than one year.
        There are no firearm or ammunition manufacturers in the District of Columbia. Therefore,
the firearms and ammunition in this case would have traveled in interstate commerce prior to being
recovered in the District of Columbia.
       Based on the foregoing, your affiant submits that there is probable cause to believe that
Baptiste violated 18 U.S.C. § 922(g)(1), which makes it a crime for any person who has been
convicted in a court of a crime punishable by imprisonment for a term exceeding one year to
receive any firearm or ammunition which has been shipped or transported in interstate or foreign
commerce.




                                     __________________________________________
                                     Thomas Schemmel, MPD Officer
                                     Metropolitan Police Department

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 30th day of November 2022.
                                      Digitally signed by
                                      Zia M. Faruqui
                                      Date: 2022.11.30
                      ____________________________________
                                      16:48:00 -05'00'
                      HONORABLE ZIA M. FARUQUI
                      UNITED STATES MAGISTRATE JUDGE




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